                       Case 4:17-cr-00057-BMM Document 90 Filed 06/06/18 Page 1 of 7

AO 2458 (Rev. Q2/18)   Judgment in a Criminal Case
                       Sheet 1                                                                                                           FILED
                                          UNITED STATES DISTRICT COURT                                                                        JUN 0 6 2018
                                                                                                                   Cieri<, U,S Distnct Court
                                                                 District of Montana                                  Distnct Of Montana
                                                                           )                                               Great Fails
              UNITED STATES OF AMERICA                                     )    JUDGMENT              L"I A CRIMINAL   CASE
                                   v.                                      )
                                                                           )
                 MICHELLE ANORA JOYNER                                          Case Number: CR 17--57·GF·BMM-02
                 aka Michelle Andrea Hayden                                )
                 aka Michelle Andrea Dumond                                )    USM Number: 16907·046
                                                                           )
                                                                           )     Carl S, Jensen, Jr,
                                                                                Defendant's: Attorney
                                                                           )
THE DEFENDANT:
liZ! pleaded guilty to count(s)         67 of the Indictment
                                                        ~------




o pleaded nolo contendere to count(s)
   which was accepted by the court
o was found guilty on eount(s)
   after a plea of not guilty,

The defendant is adjudicated guilty of these offenses:

Titl" & Section                    Nature of Offense                                                                Offense Ended
 18 U.S.C. §§ 2. 2251 (a)           Sexual Exploitation of a Child                                                     6/26/2016                                            67




       The defendant is sentenced as provided in pages 2 through                7           of this judgment. The sentence is imposed pursuant to
Ibe Sentencing RerorIn Act of 1984.

   The defendant has been found not guilty on counl(s)

liZ! Count(s)tlf).lind,,8through 74 .                ~-
                                                          o is     liZ! are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days ofan)' change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are funypaid. Ifordered to pay restitution,
the defendant must notiJY the court and United States attorney of material crumges in economIc circumstances.




                                                                          Brian Moms, United States District Judge
                                                                         N~meand TitleOfJ~------------------------------------------------   ............................................   -~




                                                                          616/2018
                                                                         Date
                     Case 4:17-cr-00057-BMM Document 90 Filed 06/06/18 Page 2 of 7

A0245B (Rcv.02/iS)    Jud~ent           Ca.,
                      Sheet 2

                                                                                                     Judgment ~ Page        of   7
 DEFENDANT: MICHELLE ANDRA JOYNER aka Michelle Andrea Hayden aka Michelle Andrea Dumond
 CASE NUMBER: CR 17-S7-GF-BMM-02

                                                            IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau ofPrisons to be imprisoned for a total
 term of:
  300 months




       o The court makes the following recommendations to thc Bureau of Prisons:



       [;zJ The defendant is remanded to the custody of the United States MarshaL

       o The defendant shall surrender to the United States Marshal for this district:
         o at                                   o a.m. o p.m. on
         o as notified by the United States Marshal.
       o The defendant shall surrender for service of sentenee at the insticution designated by the Bureau of Prisons:
         o before 2 p.m. on
         o as notified by the United StaleS MarshaL
         o as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
I have executed tbis judgment as follows:




            Defendant delivered on                                                     to

al ,                      _~~_~~~_ , with. certificd copy of this judgment.




                                                                              - -.... -~~~llN~·=lTE=D=STATES MARSHAL'-~~~~~~



                                                                         By
                                                                                             DEPUrY lJNITEDSTATES MARSHA('
                       Case 4:17-cr-00057-BMM Document 90 Filed 06/06/18 Page 3 of 7

AD 2459 (Rev. 02/U) Judgment in a Crimina) Case·
                    Sheet 3   Supervjsed Release
                                                                                                           Judgment Page ~ of      __t.. .
DEFENDANT: MICHELLE ANORA JOYNER aka Michelle Andrea Hayden aka Michelle Andrea Dumond
CASE NUMBER: CR 17-57-GF-BMM-02
                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a tenn of:
 10 years




                                                     MANDATORY CONDITIONS

1,      You must not commit another federal. state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use ofa eontrolled substanee. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug Iests thereafter, as detennined by the court.
                o
               The above drug testing eondition is suspended, based on the eourt's detennination that you
                pose a low r1sk offuture substance abuse. (check if appIicubfe.)
4.       0   You must make restitution in accordance with 18 U.S.c. §§ 3663 and 3663A or any other statute authorizing a sentence of
             restitution. (che;:!c if appIi~able)
5.       I!f You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       I!f You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, e/ seq.) as
             directed by Ihe probstion officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were comicted ofa qualifying offense. (clwck if applicable)
7,       0   You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                   Case 4:17-cr-00057-BMM Document 90 Filed 06/06/18 Page 4 of 7

AO 245B (Rev. 02/18) Judgment in a Criminal Case
                     Sheet 3A ~ Supervised Release
                                                                                               Judgment-Page         4        of         I
DEFENDANT: MICHELLE ANDRA JOYNER aka Michelle Andrea Hayden aka Michelle Andrea Dumond
CASE NUMBER: CR 17-57-GF-BMM-02

                                     STANDARD CONDITIONS OF SUPERVISION
As part ofyoll, supervised release, yOll must comply "ith the following standard conditiol15 of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about~ and bring about improvements in your conduct and eondition.

I.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours OfyOll'
      release from imprisonment. unless the probation officer instructs you to report to a different probation offiee or within a different time
      frame.
2.    After initially reporting to the probation office) you 'Win reeeive instructions from the court or the probation officer about how and
      when you must report to the probation offieer, and you must ruport to the probation officer as instructed.
3.    You must not knowingly leave the federal j udici.l district where you are authorized to reside without first getting permission from the
      eourt or the probation officer.
4.    You must answer truthfully the questions asked by your prohation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (sueh as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unantieipated eireumstanees, you must notify the probation officer within 72
      hours of becoming aware ofa change Of expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditiol15 of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type ofemployment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unantieipated eireumstances, you must notifY the probation offieer -n'ithin 72 hours of
      becoming aware of a change or expected change.
S.    You must not communicate or interact w-ith someone you know is engaged in criminal activity, If you know someone has been
      convicted of a felony, you must not kno'hingly eommunieate or interact with that person without first getting the pennissloo ofthe
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not 0'Wn, possess, or have access to a firearm, ammunition, destructive device. or dangerous weapon (i.e.~ anything that was
      designed, or was modified for, the specific purpose ofcausing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enfurcement agency to act as a confidential human source or informant without
      first getting the pennission of the court.
12.   If the probation officer detennines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk. aud you must comply with that instruction. The probation officer may contact the
      person and eonfinn that you have notified the person about the risk.
13.   You must follow the instructions of the probation offieer related to the eonditions of supervision.



U.S. Probation Office Use Only
A U.S. probation offieer has instructed me on the conditions specified by the court and bas provided me with a written copy ofthis
judgment containing these conditions, For further infonnation regarding these eonditions. see Overview ofProbation and Supervised
Release Conditions, available at: www.uscolJrts.gov.


Defendant's Signature                                                                                     Date
                   Case 4:17-cr-00057-BMM Document 90 Filed 06/06/18 Page 5 of 7
 AO 245B(Re,," 02i1&) Judgment in a Criminal Case
                      Shet;t 3D Supervised Ret.;a:se
                                                                                  Judgment Page   5   of   7
DEFENDANT: MICHELLE ANORA JOYNER aka Michelle Andrea Hayden aka Michelle Andrea Dumond
CASE NUMBER: CR 17-57-GF-BMM-<J2

                                         SPECIAL CONDITIONS OF SUPERVISION

 1. The defendant shall have no contact with the victim in the instant offense.

 2. The defendant shall not possess camera phones or electronic devices that could be used for covert
 photography without the prior written approval of the United States Probation Office.

 3. The defendant must not access the internet.

 4. All employment must be approved in advance in writing by the United States Probation Office. The
 defendant shall consent to third-party disclosure to any employer or potential employer.

 5. The defendant shall not be allowed to do the following without prior written approval of United States
 Probation: knowingly reside in the home, residence, or be in the company of any child under the age of 18;
 go to or lOiter within 100 yards of school yards, parks, playgrounds, arcades, or other places primarily used
 by children under the age of 18.

 6. The defendant shall submit to not more than six polygraph examinations per year as directed by United
 States Probation to assist in treatment, planning, and case monitoring. The defendant maintains the Fifth
 Amendment rights during polygraph examinations and may refuse to answer any incriminating questions.
 The defendant is to pay all or part of the cost of the examinations as directed by United States Probation
 Office.

 7. The defendant shall not knowingly acquire, possess, or view any materials depicting sexually explicit
 conduct as defined in 18 U.S.C. § 2256(2)(A), if the materials, taken as a whole, are primarily designed to
 arouse sexual desire, unless otherwise approved by the supervising probation officer in conjunction with
 defendant's sex offender treatment provider. This condition applies to written stories, visual, auditory,
 telephonic, or electronic media, computer programs or services, and any visual depiction as defined in 18
 U.S.C. § 2256(5). The defendant shall not knowingly patronize any place where sexually explicit material or
 entertainment is the primary item of sale, such as adult bookstores, clubs, or internet sites, unless
 otherwise approved by the supervising probation officer in conjunction with defendant's sex offender
 treatment provider. The defendant shall not utilize 900 or adult telephone numbers or any other sex-related
 numbers, or online chat rooms that are devoted to the discussion or exchange of sexually explicit materials
 as defined above.

 8. The defendant shall submit her person, and any property, residence, vehicle, papers, computers (as
 defined in 18 U.S.C. § 1030(e)(1 »), other electroniC communications or data storage devices or media, to
 which the defendant has access, to a search at a reasonable time and a reasonable manner, with or
 without a warrant, by the United States Probation Office with reasonable suspicion concerning a violation of
 a condition of supervision or unlawful conduct by the defendant. Failure to submit to search may be
 grounds for revocation. The defendant shall warn any other occupants, adults, and minors that the
 premises may be subject to searches pursuant to this condition. The defendant shall allow seizure of
 suspected contraband for further examination.

 9. The defendant shall enter and successfully complete a sex offender treatment program. The defendant
 is to enter a program deSignated by, and until released by, the United States Probation Office. The
 defendant is to pay all or part of the costs of treatment as directed by United States Probation Office.
                      Case 4:17-cr-00057-BMM Document 90 Filed 06/06/18 Page 6 of 7
AO 2458 (Rev.02/t8)    Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgment -   Page     .6_    of        7
DEFENDANT: MICHELLE ANDRA JOYNER aka Michelle Andrea Hayden aka Michelle Andrea Dumond
CASE NUMBER: CR 17-57-GF-BMM-02
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total eriminal monetary penalties under the sehedule of payments on Sheet 6.

                        Assessment                 JVTA Assessment*             Fine                       Restitution
 TOTALS           $ 100.00                       $ WAIVED                     $ WAIVED                   $ N/A


 o The determination of restitution is deferred until _ _ _ _ • An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after sueh detennination.

 o The defendant must make restitution (ineluding eommunity restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, eaeh payee shall receive an approximately proportioned pa)'l!'!ent, unless specified otherwise in
     the priority: order or percenta,ge payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paId.

 Name oCPayee                                                     Total Loss**           Restitution Ordered             Priority or Percentage




TOTALS                                $_--­                    0.00       $                       0.00


 D    Restitution amount ordered pursuant to plea agreement $ _ _ _ _ _ _ _ __

o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. § 3612(1). All ofthe payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The eourt detennined that the defendant does not have the ability to pay interest and it is ordered that:

      o the interest requirement is waived for the D fine D restitution.
      o the interest requirement for the o fine 0 restitution is modified as follows:
• Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
.... Findings for the total amount oflosses are required under Chapters 109A, 110, I lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                      Case 4:17-cr-00057-BMM Document 90 Filed 06/06/18 Page 7 of 7
AO 24SB (Rev. 02118) Judgment in a Crimina! Case
                        Sheet 6   Schedule of Pa)"rnefllS
                                                                                                                    ludgment- Page    _7_... of           7
DEFENDANT: MICHELLE ANORA JOYNER aka Michelle Andrea Hayden aka Michelle Andrea Dumond
CASE NUMBER: CR 17-57-GF-BMM-02


                                                                SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follo'\.\'8:

A       0     Lump sum payment of $                                     due immediately, balance due

              0     not later than                                          , or
              0     in accordance with      0 C,            0    D,    0     E.or      o Fbelow;or
B       0     Payment to begin immediately (may be combined with                    DC,          OD,or        o F below); or
C       0     Payment in equal                              (e.g.• weekly, monthly. quarterly) installments of $                       over a period of
                             (e.g., months or years)~ to commence                           (e.g., 30 or 60 days} after the date ofthis judgment; or

D       0     Payment in equal                              (e.g., weekJy, monthly, quarterly) installments of $                       over a period of
                             (e.g., months or years), to commence                           (e.g., 3D or 60 days) after release from imprisonment to a
              tenn of supervision; or

E       0     Payment during the term of supervised release will eotI1mence within                         (e.g.. 30 or 60 days) aftefrelease from
              imprisonment. The court will set the payment plan based on an assessme'-'n'~t--;::-;---d:-e-;;fendant's ability to pay at tbat rime; or

F       Oll   Special instructions regarding the payment of criminal monetary penalties:

              Special assessment shall be immediately due and payable. While incarceraled, criminal monetary penalty
              payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shall be through
              the Bureau of Prisons' Inmate Financial Responsibility Program. Criminal monetary payments shall be made to
              the Clerk, United States District Court, Missouri River Courthouse, 125 Central Avenue West, Suite 110, Greal
              Falls, MT 59404, "Assessment Michelle Andrea Joyner-.
Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment. payment ofcriminal monetruy penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the elerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o       Joint and Severn!

        Defendant and Co-Defendant Names and Case Numbers (including d<ifendant number), Total Amount, Joint and Several Amount,
        and correspooding payee, if appropriate.          .




o       The defendanr shall pay the eost of prosecution.

o       The defendant shal! pay the following court co,t(s):

Ii1:l   The defendant shal! forfeit the defendant's interest in the following property to the United States:
         eMachines computer, Model EL 1300G (serial number PTNAROY001921 050969000); a Polaroid tablet, Model P900
         (seized); and a Microsoft cell phone, Model RM-1073, with a Micro SDHC media card (seized).

Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fme
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including eost ofprosecution and court costs.
